      Case 19-15800-amc                  Doc 79       Filed 06/08/23 Entered 06/08/23 14:00:54                          Desc Main
                                                      Document     Page 1 of 5
                                                                  L.B.F. 3015.1

                                      UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re: Gerald Fulton, Jr.                                                     Case No.: 19-15800-AMC
                                                                              Chapter 13
                                 Debtor(s)

                                                                Chapter 13 Plan

   Original

   Modified

Date: June 8, 2023

                                               THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                CHAPTER 13 OF THE BANKRUPTCY CODE

                                                      YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                                   IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                  MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                               NOTICE OF MEETING OF CREDITORS.

Part 1: Bankruptcy Rule 3015.1(c) Disclosures

                         Plan contains non-standard or additional provisions – see Part 9
                         Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
                         Plan avoids a security interest or lien – see Part 4 and/or Part 9

Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

    § 2(a) Plan payments (For Initial and Amended Plans):

         Total Length of Plan: 48 months.

         Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $32,486.45

         Debtor has already paid the Trustee $29,607.00 through month number 44 and shall continue to pay the Trustee $740.00 per month in
         June 2023 for 4 months.

        Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source, amount and date
when funds are available, if known):

    § 2(c) Alternative treatment of secured claims:

              None. If “None” is checked, the rest of § 2(c) need not be completed.

              Sale of real property

         See § 7(c) below for detailed description

              Loan modification with respect to mortgage encumbering property:

                                                                                                                                       Page 1 of 5
      Case 19-15800-amc                  Doc 79        Filed 06/08/23 Entered 06/08/23 14:00:54                         Desc Main
                                                       Document     Page 2 of 5

Debtor          Gerald Fulton, Jr.                                                         Case number    19-15800-AMC

         See § 4(f) below for detailed description

    § 2(d) Other information that may be important relating to the payment and length of Plan:             48 Months

    § 2(e) Estimated Distribution

          A.     Total Priority Claims (Part 3)

                 1. Unpaid attorney’s fees                                            $                                4,350.00

                 2. Unpaid attorney’s cost                                            $                                    0.00

                 3. Other priority claims (e.g., priority taxes)                      $                                    69.6

          B.     Total distribution to cure defaults (§ 4(b))                         $                                    0.00

          C.     Total distribution on secured claims (§§ 4(c) &(d))                  $                              24,742.07

          D.     Total distribution on general unsecured claims (Part 5)              $                                 146.03

                                                     Subtotal                         $                              29,238.10

          E.     Estimated Trustee’s Commission                                       $                                3,248.35


          F.     Base Amount                                                          $                              32,486.45

    §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

             By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s Disclosure of Compensation [Form
B2030] is accurate, qualifies counsel to receive compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s
compensation in the total amount of $         with the Trustee distributing to counsel the amount stated in §2(e)A.1. of the Plan. Confirmation
of the plan shall constitute allowance of the requested compensation.

Part 3: Priority Claims

         § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                          Claim Number         Type of Priority             Amount to be Paid by Trustee
David M. Offen                                                         Attorney Fee                      $3,750.00 + $600.00 post petition =
                                                                                                                                  $4,350.00
Pennsylvania Department of Revenue                                     11 U.S.C. 507(a)(8)                                          $550.16

         § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

                   None. If “None” is checked, the rest of § 3(b) need not be completed.

Part 4: Secured Claims

         § 4(a) Secured Claims Receiving No Distribution from the Trustee:

                   None. If “None” is checked, the rest of § 4(a) need not be completed.

         § 4(b) Curing default and maintaining payments

                   None. If “None” is checked, the rest of § 4(b) need not be completed.

          § 4(c) Allowed Secured Claims to be paid in full: based on proof of claim or pre-confirmation determination of the amount, extent
or validity of the claim

                   None. If “None” is checked, the rest of § 4(c) need not be completed.


                                                                           2
       Case 19-15800-amc                  Doc 79       Filed 06/08/23 Entered 06/08/23 14:00:54                               Desc Main
                                                       Document     Page 3 of 5

Debtor           Gerald Fulton, Jr.                                                        Case number         19-15800-AMC

                  (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the plan.

                   (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount, extent or
           validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.

                   (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under Part 5
           of the Plan or (B) as a priority claim under Part 3, as determined by the court.

                    (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a) (5) (B) (ii) will
           be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for “present value” interest
           in its proof of claim or otherwise disputes the amount provided for “present value” interest, the claimant must file an objection to
           confirmation.

                  (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
           corresponding lien.

           Name of             Claim        Description of Secured Property          Allowed Secured Claim Amount to be Paid by Trustee
           Creditor            Number
           Credit                           2012 Ford Explorer 66,000 miles                                                             $18,381.87
           Acceptance                       Good Condition                                                         and no further payments to be
           Corporation                                                                                             made by the Trustee as vehicle
                                                                                                                        has been totaled and the
                                                                                                                          creditor will be paid by
                                                                                                                                        insurance
           LVNV Funding                     Judgment                                                $4,193.04                            $4,193.04
           Upper Darby                      Municipal Liens                                         $1,854.03                            $2,167.16
           Township

          § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

                   None. If “None” is checked, the rest of § 4(d) need not be completed.

          § 4(e) Surrender

                   None. If “None” is checked, the rest of § 4(e) need not be completed.

          § 4(f) Loan Modification

             None. If “None” is checked, the rest of § 4(f) need not be completed.

           (1) Debtor shall pursue a loan modification directly with Atlantica or its successor in interest or its current servicer (“Mortgage Lender”),
in an effort to bring the loan current and resolve the secured arrearage claim.

         (2) During the modification application process, Debtor shall make adequate protection payments directly to Mortgage Lender in the
amount of $813.84 per month, which represents regular monthly mortgage payment (describe basis of adequate protection payment).
Debtor shall remit the adequate protection payments directly to the Mortgage Lender.

          (3) If the modification is not approved by December 31, 2021 , Debtor shall either (A) file an amended Plan to otherwise provide for the
allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the automatic stay with regard to the collateral and Debtor will
not oppose it.

Part 5:General Unsecured Claims

          § 5(a) Separately classified allowed unsecured non-priority claims

                   None. If “None” is checked, the rest of § 5(a) need not be completed.

          § 5(b) Timely filed unsecured non-priority claims

                    (1) Liquidation Test (check one box)

                                  All Debtor(s) property is claimed as exempt.


                                                                            3
       Case 19-15800-amc                  Doc 79       Filed 06/08/23 Entered 06/08/23 14:00:54                               Desc Main
                                                       Document     Page 4 of 5

Debtor           Gerald Fulton, Jr.                                                        Case number         19-15800-AMC

                                  Debtor(s) has non-exempt property valued at $       for purposes of § 1325(a)(4) and plan provides for
                                  distribution of $     to allowed priority and unsecured general creditors.

                    (2) Funding: § 5(b) claims to be paid as follows (check one box):

                                  Pro rata

                                  100%

                                  Other (Describe)

Part 6: Executory Contracts & Unexpired Leases

                    None. If “None” is checked, the rest of § 6 need not be completed.

Part 7: Other Provisions

          § 7(a) General Principles Applicable to The Plan

          (1) Vesting of Property of the Estate (check one box)

                        Upon confirmation

                        Upon discharge

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of claim controls over
any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C) shall be disbursed
to the creditors by the debtor directly. All other disbursements to creditors shall be made to the Trustee.

          (4) If Debtor is successful in obtaining a recovery in personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to the
extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor or the Trustee and approved by the court..

          § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

          (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for by
the terms of the underlying mortgage note.

           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the imposition
of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be assessed on
post-petition payments as provided by the terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the Debtor
provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly statements.

           (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to the
filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.

          (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

          § 7(c) Sale of Real Property

             None. If “None” is checked, the rest of § 7(c) need not be completed.

Part 8: Order of Distribution

          The order of distribution of Plan payments will be as follows:

          Level 1: Trustee Commissions*
                                                                            4
        Case 19-15800-amc                Doc 79        Filed 06/08/23 Entered 06/08/23 14:00:54                              Desc Main
                                                       Document     Page 5 of 5

Debtor           Gerald Fulton, Jr.                                                        Case number       19-15800-AMC

          Level 2: Domestic Support Obligations
          Level 3: Adequate Protection Payments
          Level 4: Debtor’s attorney’s fees
          Level 5: Priority claims, pro rata
          Level 6: Secured claims, pro rata
          Level 7: Specially classified unsecured claims
          Level 8: General unsecured claims
          Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10) percent.

Part 9: Nonstandard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is checked.
Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

             None. If “None” is checked, the rest of Part 9 need not be completed.

Part 10: Signatures

          By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of this Plan.

Date:    June 8, 2023                                                          /s/ David M. Offen
                                                                               David M. Offen
                                                                               Attorney for Debtor(s)




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